
Colcock, J.
As to the first ground, I do not think the defendant can maintain it, for the son was unquestionably his agent, to perform the contract originally entered into between the father and Ming. The wagon and team were proved to have belonged to the father, and the defendant is therefore liable, if there be any cause of action.
On the second ground, I am of opinion, that the plaintiff’s suit should have been brought on the written contract, in the joint names of Ming and Sims, and that no action can be supported by Sims alone, for the subject of that receipt. The^ verdict in this case would be no bar to an action brought by Ming, or by Ming and Sims. Thus the defendant might be subjected to three suits for the delivery of the cotton. The receipt was joint, and therefore the *251properly must be considered as belonging to them both; and if so, was liable for the carriage to Virginia. I am, therefore, of opinion, the motion should be granted.
Nott, Geimke, and Brevard, Js., concurred.
